             Case 20-10553-CTG   Doc 1412-1       Filed 04/04/22   Page 1 of 8




                                    EXHIBIT 1

                                     J. B. Hunt




DOCS_LA:342783.1
Case 20-10553-CTG   Doc 1412-1   Filed 04/04/22   Page 2 of 8
Case 20-10553-CTG   Doc 1412-1   Filed 04/04/22   Page 3 of 8
Case 20-10553-CTG   Doc 1412-1   Filed 04/04/22   Page 4 of 8
Case 20-10553-CTG   Doc 1412-1   Filed 04/04/22   Page 5 of 8
Case 20-10553-CTG   Doc 1412-1   Filed 04/04/22   Page 6 of 8
Case 20-10553-CTG   Doc 1412-1   Filed 04/04/22   Page 7 of 8
Case 20-10553-CTG   Doc 1412-1   Filed 04/04/22   Page 8 of 8
